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United States District Court
District of North Dakota
File No. 3:18-cv-220
Daniel Cvijanovich, Plaintiff

V. , NOTICE OF APPEAL

United States Secret Service, Defendant

Notice is hereby given that Daniel Cvijanovich, plaintiff in the above named case, hereby
appeals to the United States Court of Appeals for the 8" Circuit from the Order granting the
defendant’s motion for summary judgment, entered in this action on the 25" day of
September, 2019.

Daniel Cvijanovich
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